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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

In re:
SABINA GARCIA                                               Case No. 22-11300-SMG

                                                            Chapter 7

        Debtor
____________________________________________/


             TRUSTEE'S NOTICE OF FINAL DIVIDENDS TO CREDITORS

       The trustee herein files this Notice of Dividends to the creditors of this estate. Attached
hereto is the Trustee's Final Dividend made to creditors.
       The dividend checks were mailed to creditors on July 3, 2023 If checks are not cashed
within 90 days by the creditors, all remaining funds will be turned over to the clerk of court for
deposit into the U.S. Treasury pursuant to 11 U.S.C. §347(a) and Local Rule 311.

                                           /s/ Kenneth A. Welt
                                           Kenneth A. Welt, Chapter 7 Trustee
                                           4581 Weston Road #355
                                           Weston, FL 33331
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                                                                                         CLAIM ANALYSIS REPORT


  Case No.                      22-11300-SMG                                                                                        Trustee Name:             Kenneth A. Welt
  Case Name:                    GARCIA, SABINA                                                                                      Date:                     7/3/2023
  Taxpayer ID #:                XX-XXXXXXX
  Claims Bar Date:              10/13/2022

 Claim               Creditor Name          Claim            Claim Class       Claim       Uniform    Scheduled      Claim       Amount        Amount         Interest          Tax         Net
  No.:                                      Date                               Status     Tran Code    Amount       Amount       Allowed        Paid                                     Remaining
                                                                                                                                                                                          Balance

         KENNETH A. WELT                  04/24/2023    Trustee                Allowed     2100-000        $0.00     $5,500.00    $5,500.00     $5,500.00          $0.00         $0.00        $0.00
                                                        Compensation
         4581 Weston Road #355
         Weston FL 33331
         KENNETH A. WELT                  04/24/2023    Trustee Expenses       Allowed     2200-000        $0.00       $86.18       $86.18           $86.18        $0.00         $0.00        $0.00
                                                        paid in full
          4581 Weston Road #355
          Weston FL 33331
  3Sec   CABANAS LAW, P.A.                04/21/2023    Pers. Prop. &          Allowed     4220-000        $0.00     $7,500.00    $7,500.00     $7,500.00          $0.00         $0.00        $0.00
         DBA CABANAS LAW                                Intangibles--Noncons
         FIRM                                           ensual Liens
                                                        (judgements, storage
                                                        liens)
         c/o Mary Jo Rivero, PA
         1806 North Flamingo Rd., Suite
         355
         Pembroke Pines FL 33028
         ZACHARY MALNIK                 04/24/2023      Attorney for Trustee   Allowed     3220-000        $0.00      $522.95      $522.95          $522.95        $0.00         $0.00        $0.00
                                                        Expenses (Other
                                                        Firm)
         P.O. Box 15580
         Plantation FL 33318
         ZACHARY MALNIK                   04/24/2023    Attorney for Trustee   Allowed     3210-000        $0.00     $6,932.50    $6,932.50     $6,932.50          $0.00         $0.00        $0.00
                                                        Fees (Other Firm)
         P.O. Box 15580
         Plantation FL 33318
     1   QUANTUM3 GROUP LLC               07/25/2022    General Unsecured §    Allowed     7100-000     $7,581.90    $7,727.73    $7,727.73     $2,245.20          $0.00         $0.00    $5,482.53
         AS AGENT FOR CREDIT                            726(a)(2)
         CORP SOLUTIONS INC
         PO Box 788
         Kirkland WA 98083-0788
Claim Notes:    (1-1) Money Loaned
     2   JPMORGAN CHASE                    07/29/2022   General Unsecured §    Allowed     7100-000     $1,000.00    $6,981.28    $6,981.28     $2,028.33          $0.00         $0.00    $4,952.95
         BANK, N.A.                                     726(a)(2)
          s/b/m/t Chase Bank USA, N.A.
          c/o National Bankruptcy Services,
          LLC
          P.O. Box 9013
          Addison TX 75001
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                                                                                      CLAIM ANALYSIS REPORT


  Case No.                      22-11300-SMG                                                                                       Trustee Name:             Kenneth A. Welt
  Case Name:                    GARCIA, SABINA                                                                                     Date:                     7/3/2023
  Taxpayer ID #:                XX-XXXXXXX
  Claims Bar Date:              10/13/2022

 Claim               Creditor Name        Claim            Claim Class      Claim       Uniform    Scheduled      Claim        Amount         Amount         Interest          Tax         Net
  No.:                                    Date                              Status     Tran Code    Amount       Amount        Allowed         Paid                                     Remaining
                                                                                                                                                                                         Balance

 3GUC    CABANAS LAW, P.A.               04/21/2023   General Unsecured §   Allowed     7100-000    $71,764.06   $65,001.20    $65,001.20     $18,885.35          $0.00         $0.00   $46,115.85
         DBA CABANAS LAW                              726(a)(2)
         FIRM
          c/o Mary Jo Rivero, PA
          1806 North Flamingo Rd., Suite
          355
          Pembroke Pines FL 33028
Claim Notes:    Per DE#98
     4   AMERICAN EXPRESS            08/04/2022       General Unsecured §   Allowed     7100-000     $1,613.00     $1,613.19     $1,613.19         $468.69        $0.00         $0.00    $1,144.50
         NATIONAL BANK C/O                            726(a)(2)
         BECKET AND LEE LLP
         PO Box 3001
         Malvern PA 19355-0701
     5   AMERICAN EXPRESS            08/04/2022       General Unsecured §   Allowed     7100-000     $1,358.00     $1,358.22     $1,358.22         $394.62        $0.00         $0.00      $963.60
         NATIONAL BANK C/O                            726(a)(2)
         BECKET AND LEE LLP
         PO Box 3001
         Malvern PA 19355-0701
     6   WELLS FARGO BANK,           09/22/2022       General Unsecured §   Allowed     7100-000    $10,105.98   $10,105.98    $10,105.98      $2,936.18          $0.00         $0.00    $7,169.80
         N.A. WELLS FARGO                             726(a)(2)
         CARD SERVICES
         PO Box 10438, MAC F8235-02F
         Des Moines IA 50306-0438
                                                                                                                 $113,329.23   $113,329.23    $47,500.00          $0.00         $0.00   $65,829.23
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                                                                          CLAIM ANALYSIS REPORT


Case No.                      22-11300-SMG                                                                                Trustee Name:           Kenneth A. Welt
Case Name:                    GARCIA, SABINA                                                                              Date:                   7/3/2023
Taxpayer ID #:                XX-XXXXXXX
Claims Bar Date:              10/13/2022



      CLAIM CLASS SUMMARY TOTALS

                                           Claim Class                         Claim         Amount         Amount                 Interest            Tax                     Net
                                                                              Amount         Allowed         Paid                                                           Remaining
                                                                                                                                                                             Balance


           Attorney for Trustee Expenses (Other Firm)                           $522.95         $522.95        $522.95                    $0.00              $0.00                 $0.00

           Attorney for Trustee Fees (Other Firm)                              $6,932.50       $6,932.50      $6,932.50                   $0.00              $0.00                 $0.00

           General Unsecured § 726(a)(2)                                      $92,787.60      $92,787.60     $26,958.37                   $0.00              $0.00            $65,829.23

           Pers. Prop. & Intangibles--Nonconsensual Liens (judgements,         $7,500.00       $7,500.00      $7,500.00                   $0.00              $0.00                 $0.00
           storage liens)

           Trustee Compensation                                                $5,500.00       $5,500.00      $5,500.00                   $0.00              $0.00                 $0.00

           Trustee Expenses paid in full                                         $86.18          $86.18         $86.18                    $0.00              $0.00                 $0.00
